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NOTICE AND WARNING TO UTILITY COMPANIES

NOTICE & WARNING TO: EVERY/ALL UTILITY COMPANIES FOR EMBEZZLEMENT . THEFT BY DECEPTION
& EXTORTION FAILING TO DISCHARGE ALL DEBTS PURSUANT TO 73RD CONGRESS, SESS 1. CHS. 48 49,
JUNE 3, 6.1933 HIR 192 HR 149) PUBLIC LAW 1 48 STAT | PUBLIC LAW 10: CHAPTER 48 STAT H2 PUBLIC LAW
73-1040 STAT 417 TRADING WITH THE ENEMY ACT (TWHA) OCT 6, 1917 but not limited ta:

Stace House Joint Resolution 192 (HJR 192) (Public Jaw 7310) was passed in 1933 we have only had debt, becanse ail
property and gold was seized by the government as collateral in the bankruptcy of the United States.

In 1863 the first Bank Act was passed. The Office of the Comptroller of the Currency (or OCC) is a US federal agency
established by the National Curreney Act of 1863 and serves to charter, regulate, and supervise all national banks and the
federal branches and agencies of foreign banks in the United States.

The OCC was created by Abraham Lincoln to fund the American Civil War but was later transformed into a
regulatory agency to iastill confidence in the National Banking system and protect consurners from misleading
business practices.

The Lieber Cade, or General Order 100 was also created by Abraham Lincoln in 1863.

The Nalionai Bank Act (ch. 38, 12 Stat. 665, February 25, 1863) was a Uniled States federal taw that established a system
of national charters for banks, the Uniled States national banks. It encouraged development of a national currency based on
bank holdings of U.S. Treasury securities, the so-called National Bank Notes. It also established the Office of the
Comptroller of the Currency (OCC) as part of the Deparlment of the Treasury. This was to establish a national security
holding body for the existence of the monetary policy of the state. The Act, logether with Abraham Lincoln's issuance of
“areenbacks”, raised money for the federal government in the American Civil War

by enticing banks to bey federal bonds and taxing state bank issued currency out of existence. The law proved

defective and was replaced by the National Bank Act of 1864. The moncy was ased to fund the Union army in the figrht
against the Confederacy, This authorized the OCC te examine and regulate nationally-chartered banks.

The above only partially begins to include the historical records and other Acts of Congress that proves the US
bankruptey of 1933 and that there is no money, only credit that Ihe American people are the Crediors.

All ulilities companies knowingly have been sending their (customers) dividends bul, in fact, making each reeipicnt
believe Ihat dividend was an invoice for services provided by the utilities companies.

The Utiklies Companies have mailed through the US Mail an intentional misrepresentalion of facts, unfair business
practices and each utility company and agents thereof have knowingly with forethought and malice created a fraudulent
debt, defrauding the Creditor, that is the recipient of said dividends, that the utilities companies lead the recipient to
believe through deception is an invoice.

The ulilikes companies in turn then extract through exlortionale measures payment from the customers instead of the
utilities companies informing these same recipients that this dividend is in actuality payment to the recipient as a charged af
debt pursuant Lo the incorporated in entirely documented evidence provided herein.

ALL utihly companies have thus created a convertible and fraudulent debt.{see ANALYSIS OF A COUNTRY
EMBEZZLED),

Every/ail utilies companies have failed to pay off any of the public debt but rather unlawfully redirected ill-getlen pains
inlo private corporate accounts (hrough embezzlement, theft by deception, fraudulent conversion, and in

violation to each all incorporated in entirety laws established through and as a resull of the US Bankruptey of 1933, wherein
there is no meney, only “bank Notes” which are but only a promise to pay,

Thus all debts are to be discharged as agreed, but the utilities companies (and banks) through their greed have not
discharged any debt, fraudulently making the utility customer deeper in <ebt by utililies companies use of “Bank Notes” or
“promissory Notes” that the ulililies companies add to the public debl side of the books rather than discharging the debts as
sUpulated in Public Laws, House Resolutions, and House Joint Resolutions.

Addilionaily, the alleged invoices sent to every recipient is a dividend an/or a coupon te the recipient. The ulifities
companies all know this to be a faet.

The Comptroller of The Currency also knows all of the above Lo be irrefutable facts, but is acting as a money laundering
agency by/forthrough/ the privalely owned Federal Reserve, in All (50) filty states of the unioas, at al.

The Complrolier of the Currency al County, Slate, and Federal level al] know the incorporated documents and testimony lo
he true, buf have yet to discharge any of the public debt, therefore have misappropriated funds through embezzlement, theft
by deception, obtaining money through false pretenses, extortion and other predicate acts since the date of Comptroller of
the Currency inception of 1863.

Allulility companies, which are private for profil corporations, regardiess of location, are knowingly participating in the
fraud and Ponzi scheme with the intent to fraudulently conver| this and every other country's wealth info private industry
accounts by fraudulent conveyance, embezzlement, theft by deception, creating fraudulent debts, Ponzi scheme and fraud
through the LS Mail, just for starters.

1] Page

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NOTICE AND WARNING TO UTILITY COMPANIES

very judge and every atiomey in America, especially those who hold positions with sever? direct connections into the
ulilities companies bank accounts and acting as atlorneys for the banks, mosé presumably in all other countties as well, since
they all get their instructions from Eeeland the same place that all the banks get their instructions through the Compiraller of
‘The Corrency headquarters in London Ragland, each knowing the above and incorporated fo be true, since they are well
versed on the US Banknipicy of 1933 and that America still remains to date ina state of Emergency and operates under
English Law, though that also is supposed to be a well-kept secret.

This means there “IS NO MONEY." It farther means that since there is no money Aimerican’s sipnatures are used as the
ercdit to run dis country, That in tuen means that if is the American people whor are the Creditors not the Debtors, as the
banks and ulilitics companies would fike everyone to believe.

‘The ulilities companies have been operating with this knowledge with intent, forethought and malice 4o commil the crimes
mentioned herein but tot limited to.

Dug to ihe fagis incorporated herein in entirely, all debts are to be charged off, including but not limited to every alleged
ulililies invoice, which cach/all have actually been a dividend, for which every utilities company embezzled payment
trough fraud, using extortion and other threats te discontinue service if Payment is not made.”

These alleged invoices were dividends thal every ulifities company using deceptive business practice lead the public to
believe were debis owed, when it ig a fact Ibat it is the utilitics companies who owe the American pablic all those

fraudulently received ilf-gotten gains plus the interest, stocks, bonds and other procceds detived therefrom.
S .

AH ofitities companies are now put on iotice that all debts are to be charged off pursuant to the stipulated and
incorporated herein Acts et al.

Facts assembled and presented by:

“Without Prejudice”

a ' EP
As Woman, Ae v

[Marcades Rishelle Potter - Authorized Representative]

All Natural Rights “Explicitly" Reserved

U.C.C.1-207/2-207/1 -308/1-103.6

2 | Page

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NOTICE

[URAT

A notary public or other completing verifies only the
identity of the individual who signed the document to
which this certificate is attached, and not the truthfulness,
accuracy, or validity of that document.

State of New Jersey
County of BURLINGTON

VIE

ow
Subscribed and sworn to (or affirmed) before me on this HH day of , 2022 by MARCADES RISHELLE
POTTER, proved.to me on the basis of satisfactory evidence to be the person(s) who appeared

before "0 Lo uceAl SRy\
Notary Public

Votowy te blic

Title (and Rank)
DU
My commission expires 04 04 | Lys

Dany: Anderson
NOTARY.PUBLIC.
STATE OF NEW JERSEY
MY COMMISSION EXPIRES SEPT. 04, 2025

SCHEDULE OF FEES

Any corporation or Natural person who, by coercion, threat, force, or demand, requires
an employee, trustee, or fiduciary of the Trust to perform, produce material, answer,
comply with, or act in accord with any particular act as set forth in this schedule, shall be
assessed according to this schedule of fees. All intervenors agree to be held liable in their
private, individual, and corporate capacity for their actions, and further may be subject to
parallel claims of criminal activity including piracy, slavery (suretyship), trespassing, and
breach of Fiduciary Duty, Perjury, Misprision of Felony, RICO, and Forfeiture.

Administrative Fees:

Any Trustee of Fiduciary employed for the matter of processing this claim shall be entitled
to 5% of first $1,000,000.00 4% of next $500,000.00 3% of next $500,000.00, 2% over

$2,000,000.

Copyright, trademark, trade name violation

1. Usage of, Marcades Rishelle Potter, © TM including all derivatives, spellings, and
upper case lower case combinations and renderings of the trademark and trade

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name without express written consent
$1,000,000.00

Acceptance of Presentments {without contract}

2. Unauthorized Citations $10,000.00 3. Warnings Issued on Paper $16,000.00 4.
Summons, Court Notices (without contract) $10,000.00 5. All other related items,
fees, or offers $10,000.00

Deposition, Interrogation funselicited)

6. Name $10,000.00 7.Driver’s License Number $10,000.00 8. Social Security Number
$50,000.00 9, Retinal Scans $50,000.00 10. Fingerprinting $50,000.00 11. Photographing
$50,00.000 DNA or Bedy Fluids

12. Mouth swab $1,000,000.00 13. Bload samples $1,000,000.00 14. Urine samples
$1,000,000.00 15. Breathalyzer testing $1,000,000.00

16. Hair samples $1,000,000.00 17. Skin samples $1,000,000.00 18. Clothing samples
$1,000,000.00

19. Forced giving of fluids/samples $1,000,000.00

Obstruction of Travel, Property Search, Trespass, Theft, Carjacking, Interference with

Commerce
20. Interference with travel (without contract or emergency) $2000.00/minute after warning

21Yemporary detention, obstruction, or restraint (without warrant) $2000.00 /minute after
warning

22, Automobile/Vessel/Car Search $1,000,000.00 23. Body/Clothing Search $1,000,000.00
24, Handcuffing, being tied or otherwise restricted $1,000,000.00 2S. Taking/Theft/Deprivation
of Property $10,000.00 per day 26. Jailed, Warehousing, Incarceration $1,000,000.00 per day

Signature, Endorsement, Autograph {SEA}

27, Autograph under threat, duress, or coercion $1,000,000.06
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First Will and Testament of the Grantor

|, Constanzia Trishelle Pearson, being of sound mind and over the age of 40, as Grantor of the private trust
security — Estate MARCADES RISHELLE POTTER, Registration Number 1989-00724 16, Date of Registration -
September 27, 1989, do Bless and do Grant Irrevocable Power of Attorney over said trust security to my daugh-
ter Marcades R Potter, her agents and/or assigns this twentieth day of October, 2019

oe
aah GLa

(Mother Signature

Signed before me at 53 Berkshire Lane , in the County of Burlington, State Of New Jersey, this the twenty fifth
day of May 2022,

Ox of 65(2 sfro2r

Notary Sign and Data)

ACKNOWLEDGEMENT
|, Marcades R. Potter, daughter of Constanzia Trishelle Pearson acknowledge my acceptance of the Grant of

Irrevocable Power of Attorney this 25th day of May, 2022

Wend @ Gtk

Oo-y

Notary starnp/signature

Darryl Anderson)
NOTARY PUBLIC

STATE OF NEW JERSE)
MY COMMISSION EXPIRES SEPT. 04, 20

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Affidavit of Correcti
srt BOE MN) avit of Correction
COUNTY OF Dudusler
may)92022

|, Marcades Rishelle Potter fully aware and competent, hereby state that this Affidavit is for the purpose of
correcting an error on the Birth certificate. .

1. The error(s) made consist(s) of:

The name MARCADES RISHELLE POTTER, that appears on the birth certificate in all capital letters is
mistyled, nobody's name on the documentation according to 18 U.S.C 1342 any name that's not in proper form
is considered a fictitious name.

2. The corrected amendment is:

The name was intended to be in proper form the name in it's proper form is. Marcades Rishelle Potter,
this is what it was intended to be for my benefit. Done by my hand as my free act and deed. Signed under the
penalties of perjury on

May 29, 2022

Cinhale Bitter

MARCADES RISHELLE POTTER

STATEOR “2

county oF [Sus (onsfo/)), ss:

This Affidavit was acknowledged before me on this day of May Z S. VO Ke wnstexcies Rishelle
Potter, who, being first duly sworn on oath according to law, deposes and says that he has read the foregoing
Affidavit subscribed by him, and that the matters statedherein are true to the best of his information, knowl-
edge and belief.

O67 24

Notary Public =~ (

Zev Pble

Title (and Rank) f

My commission expires 004205

cer a LE

Darryl Anderson
NOTARY PUBLIC
STATE OF NEW JERSEY os
MY COMMISSION EXPIRES SEPT. 04, 2!

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Affidavit of Knowledge of Facts

stare OF Meus Se cee
county of oe\\ as)

The undersigned, Potter, Marcades Rishelle do hereby swear, certify ,and affirm that

1.Potter, Marcades Rishelle having personal knowledge of facts set out that are admissible into evidence and if
called as a witness, couldtestify completely thereto.

2.|am over the age of 18 and domicile in New Jersey.

3.1 signed and executed the back of the certificate, Done by my hand as my free will act and deed declare that,
to the best of my knowledge and belief, the information herein is true, correct, and complete.

Executed this day of, (Ya QS a 2022

the. Mc

Potter, Marcades Rishelle

j

| NOTARY ACKNOWLEDGMENT
STATE OF {\ Horawe)

|
COUNTY OF RK, pall sig

This Affidavit was acknowledged before me on (Vw 4 __this_Q SM aay by Marcades Rishelle Potter, who
being first duly sworn on oath according to law, deposes and says that she has read the foregoing Affidavit
subscribed by her, and that the matters stated herein are true to the best of this information, knowledge and
belief.

Notary Public
Notary 6 ley LEO DOLAN Ill

Notary Public, State of New Jersey
Title (and Rank) My Commission Expires Aug 6, 2026

My commission expires hug ust _ & _20 26

Seal
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AFFIDAVIT OF LIFE

\l, Marcades Rishelle Of the family of Potter, Affiant, being over the age of eighteen (18) years, competent to
witness does state for the public record the following:

1. That the public record on file with the Office of the Registrar of the Commonwealth of New Jersey shows
that the entity known as MARCADES RISHELLE POTTER took the first breath of life 15th day of the month of
August in the year One - Thousand Nine Hundred and Eighty Nine (15th August 1989) do know the contents to
be true, correct, complete, and not misleading, the truth, the whole

2. That as of the date of this Affidavit of Life the entity known as Marcades Rishelle Of the family of Potter, is
still alive and breathing, and

3. Since the 15th day of the month of August in the year One - Thousand Nine Hundred and Eighty Nine
(15th August 1989) MARCADES RISHELLE POTTER has not surrendered nor abandoned any claim of her Estate
to include but not limited to and

4.Further Affiant saith naught.

|, Marcades Rishelle Of the family of Potter, do affirm that | have read the above affidavit and truth, and
nothing but the truth.

Yi DAAEK. _ ole} [2d

Marcades Rishelle Of the family of Potter date

R Thumb Print
Case 1:22-cv-00720-MMS Document 1-1 Filed 06/28/22 Page 9 of 33

WITNESSES

We, the undersigned witnesses, attest that we individually and collectively know the entity
known as Marcades Rishelle Potter to be alive and breathing and thatthe is not lost beyond the
sea, but walks among us upon the land, and that we did witness him affix his autograph to the
above AFFIDAVIT OF LIFE and also to place s right thumb print in his own blood upon this
document. &

OF MeL Med

Dart( Aigleson Macc)

Darryl Anderson
NOTARY PUBLIC
STATE OF NEW JERSEY
MY COMMISSION EXPIRES SEPT. 04, 207°

re

RS STILE f
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Corpus Juris Secundum
Section 16, Page 892:

FACT OF DEATH: Death of the person on whose estate administration is sought is a
Jurisdiction requisite; and while the presumption of death arising from absence may present a
prima facie

case sufficient to warrant a grant of administration, yet if it subsequently develops that
such person was in fact alive, the administration is void.

While it is true that the presumption of death arising from a person’s absence, unheard from, for

a considerable length of time, see “Death Section 6”, may present a prima facie case sufficient to
warrant a grant of administration on his estate, the arising of such presumption does not take
the case out of the operation of the general rule on the subject, and if it is made to appear that
the person was in fact alive at the time such administration was granted, the administration is
absolutely void. Although, that payment to an administrator of an absentee who is not in fact
dead is no defense against the absentee or his legal representative, nor are costs and
disbursement incurred by such administrator a legal charge against the absentee or his
property; but where the administrator has paid debts of the absentee, he is subrogated to the
rights of the creditors whom he has paid. It has been considered, however, that the invalidity of
the administration does not relate back, but that it is invalid only the time when the
presumption of death is rebutted.

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Cestui Que Vie Act

1666 CHAPTER 11

1666

An Act for Redresse of Inconveniencies by want of Proofe of the Deceases of Persons
beyond the Seas or absenting themselves, upon whose Lives Estates doe depend.

Annotations:

Editorial Information
X1 Abbreviations or contractions in the original form of this Act have been expanded into modern lettering in

the text set out above and below.
Modifications etc. (not altering text)
C1 Short title “The Cestui que Vie Act 1666” given by Statute Law Revision Act 1948 (c. 62), Sch. 2
C2 Preamble omitted in part under authority of Statute Law Revision Act 1948 (c. 62), Sch. 1
C3 Certain words of enactment repealed by Statute Law Revision Act 1888 (c. 3) and remainder omitted
under authority of Statute Law Revision Act 1948 (c. 62), s. 3
Annotations:

Editorial Information
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Modifications etc. (not altering text)

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C2 Preamble omitted in part under authority of Statute Law Revision Act 1948 (c. 62), Sch. 1

C3 Certain words of enactment repealed by Statute Law Revision Act 1888 (c. 3) and remainder omitted
under authority of Statute Law Revision Act 1948 (c. 62), s. 3

1| Cestui que vie remaining beyond Sea for Seven Years together and no Proof of
their Lives, Judge in Action to direct a Verdict as though Cestui que vie were dead.

If such. person or persons for whose life or lives such Estates have beene or shall be

granted as aforesaid shall remaine beyond the Seas or elsewhere absent themselves in this
Realme by the space of seaven yeares together and noe sufficient and evident proofe be
made of the lives of such person or persons respectively in any Action commenced

for recovery of such Tenements by the Lessors or Reversioners in every such case the
person or persons upon whose life or lives such Estate depended shall be accounted

as naturally dead, And in every Action brought for the recovery of the said Tenements by
the Lessors or Reversioners their Heires or Assignes, the Judges before whom such
Action shall be brought shall direct the Jury to give their Verdict as if the person soe

remaining beyond the Seas or otherwise absenting himselfe were dead.
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FI §, I] repealed by Statute Law Revision Act 1948 (c. 62), Sch. 1

THY] aisiesarwas se vs eeu se ERRORS bis Kew FR

Annotations:
Amendments (Textual)

F2 S. I] repealed by Statute Law Revision Act 1863 (c. 125)

IV] If the supposed dead Man prove to be alive, then the Title is revested. Action for
mean Profits with Interest.

x2Provided alwayes That if any person or [xaperson or] persons shall be evicted out of

any Lands or Tenements by vertue of this Act, and afterwards if such person or persons
upon whose life or lives such Estate or Estates depend shall returne againe from beyond

the Seas, or shall on proofe in any Action to be brought for recovery of the same [to]

be made appeare to be liveing; or to have beene liveing at the time of the Eviction That
then and from thenceforth the Tennant or Lessee who was outed of the same his or their

Executors Administrators or Assignes shall or may reenter repossesse have hold and enjoy
the said Lands or Tenements in his or their former Estate for and dureing the Life

or Lives or soe long terme as the said person or persons upon whose Life or Lives the said
Estate or Estates depend shall be liveing, and alsoe shall upon Action or Actions to

be brought by him or them against the Lessors Reversioners or Tennants in possession or
other persons respectively which since the time of the said Eviction received the

Proffitts of the said Lands or Tenements recover for damages the full Proffitts of the said
Lands or Tenements respectively with lawfull Interest for and from the time that

he or they were outed of the said Lands or Tenements, and kepte or held out of the same

by the said Lessors Reversioners Tennants or other persons who after the said Eviction
received the Proffitts of the said Lands or Tenements or any of them respectively as well
in the case when the said person or persons upon whose Life or Lives such Estate or
Estates did depend are or shall be dead at the time of bringing of the said Action or
Actions as if the said person or persons where then liveing.]

Annotations:

Editorial Information

X2 annexed to the Original Act in a separate Schedule

X3 Variant reading of the text noted in The Statutes of the Realm as follows: O. omits [O. refers to a
collection in the library of Trinity

Kati M4 months ago

They have the right. Period. Because until you let them know that you are no longer a minor and need
the Fed Res Bank and it's agencies as your custodian, you will always be treated as child acting out.
The law is clear. If you want to fight them, find the laws in their systems and fight them. I would
suggest googling 31 CFR 225.2 and look at the definition of a Custodian. We are minors til we notify
them that we are at an age of Majority.
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Annotations:
Amendments (Textual)

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DECLARATION OF TRUST

The Marcy Revocable Trust (the "Trust")
This certifies that Marcades Rishelle Potter has executed a Revocable Living Trust

This AMENDED AND RESTATED DECLARATION OF TRUST (this
“Declaration”) hereby amends and restates in its entirety The Marcy Revocable Trust
executed on 05-24-2022, and is made and executed on the date below by and between
the herein-named grantor and trustee. This trust created herein will be known as The
Hokage Revocable Trust (the “Trust”).

WITNESSETH:

1, FAMILY

At the time of executing this Trust, the grantor, also known as Marcades Rishelle
Potter, (the “Grantor”), is unmarried. The names of Marcades Rishelle Potter’s children
are listed below. Unless otherwise specifically indicated in this Trust, any provision for
Marcades Rishelle Potter's children includes the below-named children as well as any
child of Marcades Rishelle Potter hereafter born or adopted.

Karter Randolph Johnson

2. TRUST PROPERTY

The Grantor declares that he or she has set aside and caused the transfer of all of
his or her right, title, and interest in and to the property described in Schedule A to the
Trust (together with any other property added to the Trust, the “Trust Property”) for
the use, benefit, and enjoyment of the beneficiaries named herein. At any time hereafter,
the Grantor may transfer any other real or personal property to the Trust. The Trust
may also receive property from any other source, including pursuant to the Crantor’s
last will and testament. The Trust Property will be held, administered, and distributed
as set forth in the Trustand any subsequent amendments to it.

3. AUTHORITY, POWER, and RIGHTS OF GRANTOR

(a) Amend and Revoke. The Grantor has the authority, power, and right to
amend, modify, or revoke the Trust. The Grantor is not required to give prior notice to
or obtain the consent of any beneficiary or trustee hereunder before

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making such changes. All amendments, notices, or other documents and instruments
affecting or furthering the purposes of this Declaration must be in a signed writing
delivered to the trustee,

(6) Appointment of Trustee. The Grantor may at any time appoint, substitute,
or otherwise change the person designated to act as trustee or successor trustee
hereunder. The Grantor is not required to give notice to or obtain the consent of any
such trustee, successor trustee, or beneficiary before making such changes.

(c) Right to Income and Principal. During his or her lifetime, the Grantor will
be exclusively entitled to all net income and as much principal from the Trust Property
as the trustee determines is necessary for the Grantor's health, education, maintenance,
support, comfort, and welfare, and these amounts will be distributed at least annually.

(d) Homestead. The Grantor reserves the right to reside in any residential real
property conveyed or transferred to the Trustrent-free and without charge (except for
mortgage payments, taxes, insurance, maintenance, and other related expenses) during
his or her lifetime, it being the intent of this provision to preserve the requisite
beneficial interest and possessory right of the Grantor in and to such real property in
accordance with the applicable provisions of state homestead or similar laws, and to
ensure that the Grantor does not lose eligibility for a state homestead tax exemption for
which he or she otherwise qualifies.

4, APPOINTMENT OF TRUSTEE

(a) | Marcades Rishelle Potter will be the initial trustee of the Trust, with all of
the rights, privileges, and responsibilities set forth herein.

(b) — [f at any time the initial trustee resigns or cannot serve due to death,
disability, or incapacity, Karter Randolph Johnson will be the successor trustee of the
Trust and each subtrust of the Trust, if any. If such nominee is unable or unwilling to
serve for any reason, Marcel James Lamar Wood will be the successor trustee, The
successor trustee will assume the active administration of the Trust in accordance with
the provisions set forth herein, Any successor trustee will have all of the powers, duties,
authority, and discretion herein and by law granted to the initial trustee. If there are
two co-trustees serving, they shall act by unanimous agreement. If there are more than
two co-trustees serving, they shall act in accordance with decisions made by the
majority of the co-trustees,

(c) A successor trustee’s authority and power may be subsequently
terminated by the Grantor without the consent of, or prior notice to, that successor
trustee, if the initial trustee has sufficiently recovered from any physical or mental

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impairment that prevented the initial trustee from being able to fully and competently
administer the Trust.

(d) As used in this Trust, the terms “disability” and “incapacity” refer to a
person's physical or mental inability to properly manage his or her own financial
affairs, as established by the written opinion of two licensed medical doctors, one of
whom must be such person’s primary care physician, if any. Any healthcare provider is
authorized to disclose to the successor trustee any pertinent individually identifiable
health information sufficient to determine whether the trustee is physically or mentally
capable of managing his or her own financial affairs. This release authority applies to
any information governed by the Health Insurance Portability and Accountability Act
of 1996 (“HIPAA”) and all other applicable state and federal law, and each successor
trustee constitutes a trustee's “personal representative” as defined by HIPAA.

5. POWERS AND DUTIES OF TRUSTEE

(a) General Powers and Duties. The trustee under this Declaration will have
all powers necessary and appropriate to administer the Trust, including all powers
granted under New Jersey law, subject to the trustee’s fiduciary duties to the Grantor
and beneficiaries and any restrictions or limits set forth under New Jersey law. The
trustee may exercise all powers without the approval or supervision of any court, the
Grantor, or any beneficiary.

(b) Specific Powers. In furtherance of subsection (a) above, the powers of the
trustee include, butare not limited to, the powers to:

1) Collect, hold, maintain, manage, and administer the Trust
Property as if the trustee were the absolute owner of it;

2) Sell, trade, deal, encumber, mortgage, pledge, option, lease, lend,
or improve the Trust Property;

3} Invest, reinvest, and make purchases with the income and
principal of the Trust in every kind of property, asset, and
investment;

4) Borrow money from the Trust for trust purposes;

5) Employ and pay reasonable fees to attorneys, accountants,

financial advisors, and any other professionals deemed necessary
or advisable for the proper administration of the Trust;

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Enter into contracts and otherwise execute any instruments on
behalf of the Trust;

Establish bank, brokerage, and other financial and nonfinancial
accounts for and on behalf of the Trust, and execute any and all
documents on the Trust's behalf in relation thereto, including any
resolutions, certifications, or certificates required for such
accounts;

Distribute or divide the Trust Property in accordance with this
Declaration (subject to any restrictions or limits set forth under
New Jersey law), and execute any documents necessary to
administer any trust or subtrust created by this Declaration;

Receive additional property into the Trust;

Continue, operate, expand, manage, and sell any business that is
part of the Trust;

Commence, defend, arbitrate, and settle legal claims or actions
concerning the Trustor the Trust Property;

Exercise voting rights, give proxies, and enter into voting
agreements with respect to stock and other business ownership
interests held by the Trust;

Prepare tax returns and take any necessary or desirable actions
with governmental agencies;

Have authority over, and the right to access, all digital Trust
Property, including the content of any of the Grantor's electronic
communications, any catalogue of electronic communications sent
or received by the Grantor, and any other digital assetin which
the Grantor has a right or interest, in accordance with applicable
state law;

Purchase and modify insurance;

Pay or disburse such sums from the assets of the Trustas may be
required, necessary, or desirable to maintain the comfort and

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welfare of the Grantor if the Grantor is unable to actively and
competently exercise judgment over financial matters by reason of
a medical illness or mental impairment;

17) On the death of the Grantor, pay any just debts and expenses of
the Grantor; and

18) Divide any trust created under this Trust into two (2) or more
separate trusts having the same dispositive provisions.

(c) Compensation, The trustee may receive reasonable compensation for
services rendered as Trustee.

(d) Resignation. Any trustee may resign by providing 30 days’ written notice
to the beneficiaries.

6. BENEFICIARIES

Subject to the creation of any subtrusts, on the death of the Grantor, the trustee
shall allocate or distribute the remaining Trust Property to the beneficiaries named
below, after the payment of any just debts, funeral expenses, trust and estate
administration expenses, and estate taxes:

(a) Specific Bequests.

None.

{b} Residual Assets. After all specific bequests have been made, the residual
Trust Property will be divided into as many equal shares as there are living children of
Grantor and deceased children of Grantor with issue then living. Each living child shall
be given one share. Any share of the Trust Property allocated to a deceased child with
issue then living shall be further divided into shares for said issue, per stirpes. The
terms "issue," "child," "children,” include a person who has a parent-child relationship,
as defined under applicable state law, with the person through whom this person
claims benefits under this Trust. These terms do include persons who are adults at the
time of adoption.

7. DISTRIBUTION IF NO LIVING BENEFICIARIES

If at any time before full distribution of the Trust Property all of the beneficiaries
are deceased and this instrument directs no other disposition of the Trust Property, the

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remaining portion of the Trust Property will then be distributed to the Grantor's heirs at
law, determined according to the laws of intestate succession.

8. NONLIABILITY OF THIRD PARTIES

(a) The Trust is created with the express interest and understanding that any
third parties, including but not limited to agents, employees, or vendors, who, on the
written request of the Grantor or under the color of authority granted to the trustee in
this Declaration, perform any duties or render any services in furtherance of the
purposes and intents of this Trust, absent any showing of fraud or bad faith, will be
under no liability for the proper administration of any assets or properties being the
subject of that third party's acts,

(b) This limitation of liability gives specific protection to any third party who
acts, performs, or renders any services pursuant to any notice, instrument, or document
believed (and represented) to be genuine, and to have been signed and presented by the
proper parties.

(c) It is further the express intent of the Grantor that the nonliability of all
third parties be given broad and prospective application. In particular, a depository,
custodial agent, financial institution, or any other person or entity acting ina fiduciary
capacity with regards to any Trust Property will suffer no liability and will incur no
express or implied obligations when acting in the capacity of a transferor, on proper
request, of any assets or property either sought to be or constructively comprising the
Trust Property.

9, MISCELLANEOUS

(a} Physical Segregation of Trust Shares Not Required. If more than one trust
is created under this Declaration, the trustee is not required to physically segregate or
divide the assets of the various trusts, exceptif physical segregation or division is
required on the termination of any of the trusts. Notwithstanding the foregoing, the
trustee shail maintain separate books and records for each separate trust.

{(b) Distribution Authority. If the trustee is required by this Declaration to
divide any Trust Property into parts or shares, for the purpose of distribution or
otherwise, the trustee is authorized, in the trustee’s sole discretion, to make that
division and distribution in identical interests, in kind, or partly in kind or partly in

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money, pro rata or non pro rata. For this purpose, the trustee may sell such Trust
Property not specifically devised as the trustee deems necessary.

(c) Liability for Estate Taxes. Any estate, inheritance, and succession taxes,
including any interest and penalties thereon, imposed by the federal government or any
state, district, or territory, attributable to Trust Property includible in the Grantor's
estate, will be apportioned among the persons interested in the Trust in accordance
with applicable state and federal law.

The trustee is authorized and directed to seek reimbursement from the beneficiaries of
the Trust of any taxes paid by the trustee to the extent allowed by law. If the trustee
cannot collect from any person interested in the Trust the amount of tax apportioned to
that person, the amount not recoverable will be equitably apportioned among the other
persons interested in the Trust who are subject to apportionment. If a person is charged
with or required to pay tax in an amount greater than his or her prorated amount
because another person does not pay his or her prorated amount, the person charged
with or required to pay the greater amount has a right of reimbursement against the

other person.

(d)  Spendthrift Provision. No interest in the principal or income of any trust
created under this Declaration may be anticipated, assigned, encumbered, or subjected
to a creditor's claims or legal process until itis actually received by the beneficiary. This
spendthrift provision constitutes one of the material purposes of the trusts created
hereunder.

(ec) Payments to Minor Beneficiaries. The trustee may make distributions ofa
minor's trust share, up to the whole thereof, to the guardian of the minor's personor a
custodian for the minor under state law, or may apply distributions directly for the
minor's benefit,

(A Qualified Subchapter S Trust Provision. It is the Grantor's intent that any
trust created herein holding stock in a qualified subchapter S corporation for any
beneficiary qualify as a qualified subchapter S trust (“QSST”). The current income
beneficiary of said trust is directed to file the required election with the Internal
Revenue Service to qualify as a QSST. The trust will have only one current income
beneficiary. The income of that trust will be distributed at least annually to only the
income beneficiary. The income interest of the income beneficiary will end at the earlier
of the QSST termination or the death of the income beneficiary. If the OSST ends during
the life of the income beneficiary all of the assets in the QSST must be distributed to the

income beneficiary.

if a trust is comprised of shares in a “small business corporation,” as defined in
Section 1361 of the Code or any successor thereto, the trustee may segregate said trust
property into a separate trust and, as trustee, may modify the terms of said trust (if

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necessary) so that said trust will be a QSST as defined in the Code or any successor
thereto. The trustee shall make any such modification by a written documentsigned by
the trustee and delivered to the beneficiary of said trust or to the guardian of any minor
beneficiary or conservator of any incompetent beneficiary. As long as an election under
Section 1362 of the Code or any successor thereto is in effect, the terms of the so-called
QSST will continue for so long as necessary. When the trust property is no longer
comprised of small business corporation stock or a Section 1362 election has not been
made, the special QSST will terminate and the trust property will be held in accordance
with the terms of the original trust.

(g) Bond. Each trustee of a trust created under this Declaration may serve without
bond.

(h) Governing Law. This Trust will be construed and enforced in accordance
with the laws of the state of New Jersey.

(i) Severability. If a court of competent jurisdiction at any time invalidates or
finds unenforceable any provision of this Trust, such invalidation will not invalidate the
whole of this Trust. All of the remaining provisions will be undisturbed as to their legal
force and effect. If a court finds that an invalidated or unenforceable provision would
become valid if it were limited, then such provision will be written, deemed, construed,
and enforced as so limited.

(j) Perpetuities Savings. Despite any other provision of this Trust to the
contrary, the Trust will terminate no later than 21 years after the death of the last
surviving beneficiary who is living at the time of the Grantor's death.

IN WITNESS WHEREOF, the Grantor has executed this declaration of trust on
the date written below.

Wtenaces Keahelle” GLb

Signature of Marcades Rishelle Potter, as
Grantor

Date: ob 24 | UV

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ds itd, be Ml ( Hb, ¢
Sendture of Marades Rishelle Potter, as
Trustee of

The Marcy Revocable Trust
Date: ds uk DA BE

ACKNOWLEDGMENT

State of New Jersey

County of _ | Lar beg hoey

On this 2 / fh) day of Jane, , 20 ; “before me, the undersigned
Notary Public, personally appeared Eric Jenkins, personally known to me
(or proved to me on the basis of satisfactory evidence) to be the individual
who signed the foregoing instrument and acknowledged to me that he or
she executed the same in his or her authorized capacity, and that by such
signature, the person executed the instrument.

WITNESS my hand and official seal.

(@ ai

Notary Public

My Commission Expires: opbyfrors-

Darryl Anderson
NOTARY PUBLIC
STATE OF NEW JERSEY
MY COMMISSION EXPIRES SEPT. 04, 2025

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ATTESTATION AND DECLARATION OF WITNESSES

In our presence, the above-named Grantor has declared or signified that this
instrument is his or her declaration of trust and has signed and executed that
instrument, and in the presence of the Grantor and each other we have hereunto
subscribed ournames on the date set forth under our signature.

(PP

Gignature of witness)

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Schedule A

Trust Property

All of the Grantor's interest in the following property is transferred into the Trust:

* All personal property, including but not limited to jewelry,
household furniture and furnishings, clothes, digital and electronic
files, and other personal items

¢ MARCADES RISHELLE POTTER 1989-0072416

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THE
LAST WILL AND TESTAMENT
OF
Marcades Rishelle Potter

DECLARATION

I, Marcades Potter, also known as Marcades Rishelle Potter, a resident of the state
of New Jersey and county of Burlington and being of sound mind and memory, do
hereby make, publish, and declare this to be my last will and testament, thereby
revoking and making nuil and void any and all other last will and testaments and/or
codicils to last will and testaments heretofore made by me. All references herein to “this
Will’ refer only to this last will and testament.

FAMILY

At the time of executing this Will, 1am unmarried. The names of my children are
listed below. Unless otherwise specifically indicated in this Will, any provision for my
children includes the below-named children as well as any child of mine hereafter born

or adopted.

Karter Randolph Johnson

DISTRIBUTION

I give, devise and bequeath all of the rest, remainder and residue of my Estate,
whether real or personal property of whatsoever kind or character and wherever
situated, to the Trustee(s) of The Marcy Revocable Trust, dated YAU 2A, ey
20.22, as then written or thereafter amended, to be added to the principal of that Trust
and to be held, administered and distributed under the Declaration of Trust and any
amendments made to it. If at the time of my death the Trust is revoked or fails for any
reason, | incorporate herein by reference the terms of the Trust that are in effect on the
date of the Trust’s execution, and give the rest, remainder, and residue of my estate to
the trustee named in said Trust, to be held, administered, and distributed in accordance
with the terms of the Trust incorporated herein.

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EXECUTOR NOMINATION

| nominate Karter Randolph Johnson to be the executor of this Will.

If, for any reason, my first nominee executor is unable or unwilling to serve or to
continue to serve as executor of this Will, | nominate Marcel James Lamar Wood

to be the executor of this Will.

If none of the nominated executors are able and willing to serve or continue to
serve, and the vacancy is not filled as set forth above, the majority of estate beneficiaries
shall nominate a successor executor. If the majority of estate beneficiaries are unable to
nominate a successor executor, the vacancy will be filled pursuant to a petition filed ina
court of competent jurisdiction by the resigning executor or any person interested in the
estate.

MISCELLANEOUS EXECUTOR PROVISIONS

The term “executor” includes any executrix, personal representative, or
administrator, if those terms are used in the statutes of any state that has jurisdiction
over all or any portion of my estate.

My executor will have broad and reasonable discretion in the administration of
my estate to exercise ali of the powers permitted to be exercised by an executor under
state law, including the power to sell estate assets with or without notice, at either
public or private sale, and to do everything he or she deems advisable and in the best
interest of my estate and the beneficiaries thereof, all without the necessity of court
approval or supervision. I direct that my executor perform all acts and exercise all such
rights and privileges, although not specifically mentioned in this Will, with relation to
any such property, as if the absolute owner thereof and, in connection therewith, to
make, execute, and deliver any instruments, and to enter into any covenants or
agreements binding my estate or any portion thereof.

If there are two co-executors serving, they shall act by unanimous agreement. If
there are more than two co-executors serving, they shall act in accordance with the
decision made by the majority of co-executors.

Subject to specific provisions to the contrary, I authorize my executor to
distribute a share of my estate given to a minor beneficiary, up to the whole thereof, to a
custodian under the applicable Transfers to Minors Act or Gifts to Minors Act, if in the
executor’s discretion, it is in the best interests of the beneficiary. The executor may also
make distributions to a minor by making distributions to the guardian of the minor's
person, or the guardian of the minor's estate.

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No person named as an executor is required to post any bond.

I authorize my executor to make the following choices or elections in my
executor’s absolute discretion, regardless of the resulting effect on any other provisions
of this Will or on any person interested in my estate or in the amount of any of the taxes
referred to: (a) choose a valuation date for estate or inheritance tax purposes or choose
the methods to pay estate or inheritance taxes; (b) elect to treat or use an item, for either
federal or state tax purposes, as either an income tax deduction or as a deduction for
estate or inheritance tax purposes; (c) determine when a particular item is to be treated
as taken into income or used as a tax deduction, to the extent the law provides that
choice; and (d) disclaim all or any portion of any interest in property passing to my
estate at or after my death, even though any of these actions may subject my estate to
additional tax liabilities. No person adversely affected by my executor’s exercise of
discretion under this clause is entitled to any reimbursement or adjustment, and my
executor is not required to make any adjustment between income and principal or in
the amount of any property passing under this Will as a result of any election under this

provision.

I authorize my executor, without obtaining court approval, to employ
professional investment counsel on such terms as my executor considers proper, and to
pay the fees of investment counsel as an expense of administration of my estate.
However, my executor is under no obligation to employ any investment counsel.

l authorize my executor either to continue the operation of any business
belonging to my estate for such time and in such manner as my executor may consider
advisable and in the best interest of my estate, or to sell or liquidate the business at such
time and on such terms as my executor may consider advisable and in the best interest
of my estate. Any such good faith operation, sale, or liquidation by my executor will be
at the risk of my estate and without liability on the part of my executor for any losses
that may result.

GUARDIAN NOMINATION

I nominate Marcel James Lamar Wood to be the guardian of the person and
estate of each minor child of mine.

If, at any time during the minority of any child of mine, my first nominee
guardian, for any reason, is unable or unwilling to serve or to continue to serve as
guardian of the person and estate of each minor child, I nominate Edward Anthony
Perkins to be the guardian of the person and estate of each minor child of mine.

If, at any time during the minority of any child of mine, none of the individual(s} named
above are able and willing to serve or to continue to serve as

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guardian of the person and estate of each such child, I nominate Keenan Isaiah Worsley
to be the guardian of the person and estate of each minor child of mine.

ADDITIONAL GUARDIANSHIP PROVISIONS

The term “guardian” as used in this Will includes any person herein named as a
guardian of both the person and estate of my minor children,

As it is my desire that the loving care and treatment of my minor children be
trusted in the guiding hands of the person designated by me as guardian of my minor
children, I wish said guardian to exercise broad and reasonable discretion in dealing
with the person and estate of my minor children so as to be able to do everything
deemed advisable in the best interest of said minor children.

1 direct that the guardian of my minor children perform all acts, take all
proceedings, and exercise all such rights and privileges, although not specifically
mentioned in this Will, with relation to any matter affecting both the person and estate
of those minor children.

If there are two co-guardians serving, they shall act by unanimous agreement. If
there are more than two co-guardians serving, they shall act in accordance with the
decision made by the majority of the co-guardians.

No person named as guardian in this Will is required to file any bond.

DEBT

| direct that as soon as is practical after my death, the executor named pursuant to this
Will review all of my just debts and obligations, including last illness and funeral expenses,
except for those secured long-term debts that may be assumed by the beneficiary of such
property, unless such assumption is prohibited by law or on agreement by the beneficiary. The
executor is further directed to pay any attorneys’ fees and any other estate administration
expenses. The executor shall pay these just debts only after a creditor provides timely and
sufficient evidence to support its claim and in accordance with applicable state law.

I direct that any estate, inheritance, and succession taxes, including any interest
and penalties thereon, imposed by the federal government or any state, district, or
territory, attributable to assets includible in my estate, passing either under or outside
of this Will, be apportioned among the persons interested in my estate in accordance
with applicable state and federal law. My executor is authorized and directed to seek

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reimbursement from the beneficiaries of my estate of any taxes paid by my executor to
the extent allowed by law.

If my executor cannot collect from any person interested in the estate the amount of tax
apportioned to that person, the amount not recoverable will be equitably apportioned
among the other persons interested in the estate who are subject to apportionment.

If a person is charged with or required to pay tax in an amount greater than his
or her prorated amount because another person does not pay his or her prorated
amount, the person charged with or required to pay the greater amount has a right of
reimbursement against the other person.

I further direct that if any beneficiary named in this Will is indebted to me at the
time of my death, and evidence of such indebtedness is provided or made available to
my executor, that share of my estate that I give to any and each such beneficiary be
reduced in value by an amount equal to the proven indebtedness of such beneficiary
unless: (i) I have specifically provided in this Will for the forbearance of such debt, or
(ii) such beneficiary is the sole principal beneficiary.

SIMULTANEOUS DEATH

If it cannot be established if a beneficiary of my estate survived me, the
provisions of the applicable Uniform Simultaneous Death Act, as amended, or any
substantially similar successor act effective on the date of my death, will apply.

NONLIABILITY OF FIDUCIARIES

Any fiduciary, including my executor and any trustee, who in good faith
endeavors to carry out the provisions of this Will, will not be liable to me, my estate, my
heirs, or my beneficiaries for any damages or claims arising because of their actions or
inaction, or the actions of any predecessor fiduciary acting pursuant to this Will. My
estate will indemnify and hold them harmless.

SAVINGS CLAUSE

if a court of competent jurisdiction at any time invalidates or finds unenforceable any
provision of this Will, such invalidation will not invalidate the whole of this Will. All of the
remaining provisions will be undisturbed as to their legal force and effect. if a court finds that an
invalidated or unenforceable provision would become valid if it were limited, then such
provision will be deemed to be written, deemed, construed, and enforced as so limited.

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IN WITNESS WHEREOF, |, the undersigned testator, declare that | sign and execute this
instrument on the date written below as my last will and testament and further declare that I
sign it willingly, that | execute it as my free and voluntary act for the purposes expressed in this
document, and that | am eighteen years of age or older, of sound mind and memory, and under

no constraint or undue influence.

‘A eeocle tO.

(Signature oF Marcades Potter)

Date: 5/ 24]22.

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ATTESTATION CLAUSE

This last will and testament, which has been separately signed by Marcades Rishelle
Potter the testator, was on the date indicated below signed and declared by the above named
testator as his or her last will and testament in the presence of each of us. We, in the presence
of the testator and each other, at the testator’s request, under penalty of perjury, hereby
subscribe our names as witnesses to the declaration and execution of the last will and
testament by the testator, and we declare that, to the best of our knowledge, said testator is
eighteen years of age or older, of sound mind and memory and under no constraint or undue
influence.

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(Address)

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c. Daay! Aolucer

(Signature of witness) (Print Narhe)
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